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                           IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLORADO

   LAQUITA JONES, LATEESHA
   PROCTOR, PATRICK SMITH, and BEN                      Case No:
   MCCOLLUM Individually and as
   representatives of a class of similarly
   situated persons, on behalf of the DISH
   NETWORK CORPORATION 401(K)                           CLASS ACTION COMPLAINT
   PLAN,

                   Plaintiffs,
              v.

   DISH NETWORK CORPORATION, THE
   BOARD OF DIRECTORS OF DISH
   NETWORK CORPORATION, THE
   RETIREMENT PLAN COMMITTEE OF DISH
   NETWORK CORPORATION; and DOES No. 1-
   20, Whose Names Are Currently Unknown,

                   Defendants.



                                       I.     INTRODUCTION

         1.        Plaintiffs, LaQuita Jones (“Jones”), Lateesha Proctor (“Proctor”), Patrick Smith

  (“Smith”), and Ben McCollum (“McCollum”) (collectively, “Plaintiffs”), individually and as

  participants of the DISH Network Corporation 401(k) Plan (“Plan”), bring this action under 29

  U.S.C. § 1132, on behalf of the Plan and a class of similarly-situated participants and

  beneficiaries of the Plan, against Defendants, DISH Network Corporation (“DISH”), the Board

  of Directors of DISH Network Corporation (“Board”), the Retirement Plan Committee of DISH

  Network Corporation (“Administrative Committee” or “Committee”), and Does No. 1-20, who

  are members of the Administrative Committee or the Board or other fiduciaries of the Plan and

  whose names are currently unknown (collectively, “Defendants”), for breach of their fiduciary
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  duties under the Employee Retirement Income Security Act (“ERISA”), 29 U.S.C. § 1001 et

  seq., and related breaches of applicable law beginning six years prior to the date this action is

  filed and continuing to the date of judgment, or such earlier date that the Court determines is

  appropriate and just (“Class Period”).

             2.       Defined contribution plans (e.g., 401(k) and 403(b) plans) that are qualified as

  tax-deferred vehicles have become the primary form of retirement saving in the United States

  and, as a result, America’s de facto retirement system. Unlike traditional defined benefit

  retirement plans, in which the employer typically promises a calculable benefit and assumes the

  risk with respect to high fees or under-performance of pension plan assets used to fund defined

  benefits, 401(k) and 403(b) plans operate in a manner in which participants bear the risk of high

  fees and investment underperformance.

             3.       The importance of defined contribution plans to the United States retirement

  system has become pronounced as employer-provided defined benefit plans have become

  increasingly rare as an offered and meaningful employee benefit.

             4.       As of December 31, 2020, the Plan had 18,808 participants with account balances

  and assets totaling approximately $841 million, placing it in the top 0.2% of all 401(k) plans by

  plan size.1 Defined contribution plans with substantial assets, like the Plan, have significant

  bargaining power and the ability to demand low-cost administrative and investment management

  services within the marketplace for administration of 401(k) plans and the investment of 401(k)

  assets. The marketplace for 401(k) retirement plan services is well-established and can be

  competitive when fiduciaries of defined contribution retirement plans act in an informed and

  prudent fashion.



  1
      The BrightScope/ICI Defined Contribution Plan Profile: A Close Look at 401(k) Plans, 2018 (pub. July 2021).

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            5.   Defendants maintain the Plan, and are responsible for selecting, monitoring, and

  retaining the service provider(s) that provide investment, recordkeeping, and other administrative

  services. Defendants are fiduciaries under ERISA, and, as such, owe a series of duties to the

  Plan and its participants and beneficiaries, including obligations to act for the exclusive benefit

  of participants, ensure that the investment options offered through the Plan are prudent and

  diverse, and ensure that Plan expenses are fair and reasonable.

            6.   Defendants have breached their fiduciary duties to the Plan. As detailed below,

  Defendants: (1) failed to fully disclose the expenses and risk of the Plan’s investment options to

  participants; (2) allowed unreasonable expenses to be charged to participants; and (3) selected,

  retained, and/or otherwise ratified high-cost and poorly-performing investments, instead of

  offering more prudent alternative investments when such prudent investments were readily

  available at the time Defendants selected and retained the funds at issue and throughout the Class

  Period.

            7.   To remedy these fiduciary breaches and other violations of ERISA, Plaintiffs

  bring this class action under Sections 404, 409 and 502 of ERISA, 29 U.S.C. §§ 1104, 1109 and

  1132, to recover and obtain all losses resulting from each breach of fiduciary duty. In addition,

  Plaintiffs seek such other equitable or remedial relief for the Plan and the proposed class

  (“Class”) as the Court may deem appropriate and just under all of the circumstances.

            8.   Plaintiffs specifically seek the following relief on behalf of the Plan and the Class:

                 a.      A declaratory judgment holding that the acts of Defendants described

                         herein violate ERISA and applicable law;




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                b.      A permanent injunction against Defendants prohibiting the practices

                        described herein and affirmatively requiring them to act in the best

                        interests of the Plan and its participants;

                c.      Equitable, legal or remedial relief for all losses and/or compensatory

                        damages;

                d.      Attorneys’ fees, costs and other recoverable expenses of litigation; and

                e.      Such other and additional legal or equitable relief that the Court deems

                        appropriate and just under all of the circumstances.

                                       II.     THE PARTIES

         9.     Jones is a former employee of DISH and former participant in the Plan under 29

  U.S.C. § 1002(7). Jones is a resident of Columbus, Ohio. During the Class Period, Jones

  maintained an investment through the Plan in the Fidelity Freedom 2040 Fund and was subject to

  the excessive recordkeeping and administrative costs alleged below.

         10.    Proctor is a former employee of DISH and former participant in the Plan under 29

  U.S.C. § 1002(7). Proctor is a resident of Hampton, Georgia. During the Class Period, Proctor

  maintained an investment through the Plan in the Fidelity Freedom 2050 Fund and was subject to

  the excessive recordkeeping and administrative costs alleged below.

         11.    Smith is a former employee of DISH and former participant in the Plan under 29

  U.S.C. § 1002(7). Smith is a resident of Mountain Top, Pennsylvania. During the Class Period,

  Smith maintained an investment through the Plan in the Fidelity Freedom 2040 Fund and was

  subject to the excessive recordkeeping and administrative costs alleged below.

         12.    McCollum is a former employee of DISH and former participant in the Plan under

  29 U.S.C. § 1002(7). McCollum is a resident of Spartanburg, North Carolina. During the Class



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  Period, McCollum maintained an investment through the Plan in the Fidelity Freedom 2030

  Fund and was subject to the excessive recordkeeping and administrative costs alleged below.

         13.     DISH is a public Nevada corporation headquartered in Englewood, Colorado.

  DISH, through its subsidiaries, offers television, through the DISH and Sling TV brands, and

  wireless services, through the Boost Mobile and Ting Mobile brands.

         14.     The Board appointed “authorized representatives” of DISH, including the

  Administrative Committee, as plan fiduciaries. Does No. 1-10 are members of the Board who

  were/are fiduciaries of the Plan under ERISA pursuant to 29 U.S.C. §§ 1002(21)(A) because

  each exercised discretionary authority to appoint and/or monitor the Administrative Committee,

  which had control over Plan management and/or authority or control over management or

  disposition of Plan assets.

         15.     The Administrative Committee is the Plan Administrator and is a fiduciary under

  ERISA pursuant to 29 U.S.C. §§ 1002 and 1102. The Administrative Committee maintains its

  address at DISH’s corporate headquarters in Englewood, Colorado. The Administrative

  Committee and its members are appointed by DISH or its delegate to administer the Plan on

  DISH’s behalf.

         16.     Does No. 11-20 are the members of the Administrative Committee and, by virtue

  of their membership, fiduciaries of the Plan or otherwise are fiduciaries to the Plan. Plaintiffs are

  currently unable to determine the membership of the Administrative Committee or the identity of

  the other fiduciaries of the Plan because, despite reasonable and diligent efforts, it appears that

  the membership of the Administrative Committee and the identity of any other fiduciaries is not

  publicly available. As such, these Defendants are named Does as placeholders. Plaintiffs will

  move, pursuant to Rule 15 of the Federal Rules of Civil Procedure, to amend this Complaint to



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  name the members of the Administrative Committee, the members of the Board, and other

  responsible individuals as defendants as soon as their identities are discovered.

                               III.    JURISDICTION AND VENUE

         17.     Plaintiffs seek relief on behalf of the Plan pursuant to ERISA’s civil enforcement

  remedies with respect to fiduciaries and other interested parties and, specifically, under 29

  U.S.C. § 1109 and 29 U.S.C. § 1132.

         18.     This Court has subject matter jurisdiction over this action pursuant to 28 U.S.C. §

  1331 because this action arises under the laws of the United States.

         19.      Venue is proper in this District pursuant to Section 502(e) of ERISA, 29 U.S.C. §

  1332(e), and 28 U.S.C. § 1391 because DISH’s principal place of business is in this District and

  the Plan is administered from this judicial district. Furthermore, a substantial part of the acts and

  omissions giving rise to the claims asserted herein occurred in this District.

         20.     Plaintiffs have standing to bring this action. Section 502(a)(2) of ERISA, 29

  U.S.C. § 1132(a)(2), authorizes any participant, fiduciary or the Secretary of Labor to bring suit

  as a representative of a plan, with any recovery necessarily flowing to a plan. As explained

  herein, the Plan has suffered millions of dollars in losses resulting from Defendants’ fiduciary

  breaches and remains vulnerable to continuing harm, all redressable by this Court. In addition,

  although standing under Section 502(a)(2) of ERISA, 29 U.S.C. § 1132(a)(2), is established by

  these Plan-wide injuries, Plaintiffs and all Plan participants suffered financial harm as a result of

  the Plan’s imprudent investment options and excessive fees, and were deprived of the

  opportunity to invest in prudent options with reasonable fees, among other injuries.

                                IV.     FACTUAL ALLEGATIONS

  A.     Background and Plan Structure



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          21.      The Plan is a participant-directed 401(k) plan, in which participants direct the

  investment of their contributions into various investment options offered by the Plan. Each

  participant’s account is credited with the participant contributions, employer matching

  contributions, any discretionary contributions, and earnings or losses thereon. The Plan pays

  Plan expenses from Plan assets, and the majority of administrative expenses are paid by

  participants as a reduction of investment income. Each participant’s account is charged with the

  amount of distributions taken and an allocation of administrative expenses. The available

  investment options for participants of the Plan include various mutual funds, DISH common

  stock, and EchoStar Corporation (“EchoStar”) common stock.

          22.      Mutual funds are publicly-traded investment vehicles consisting of a pool of

  monetary contributions collected from many investors for the purpose of investing in a portfolio

  of equities, bonds, and other securities. Mutual funds are operated by professional investment

  advisers, who, like the mutual funds, are registered with the U.S. Securities and Exchange

  Commission (“SEC”). Mutual funds are subject to SEC regulation, and are required to provide

  certain investment and financial disclosures and information in the form of a prospectus.

          23.      The Plan holds shares of DISH Class A common stock and EchoStar Class A

  common stock. Participants are not permitted to invest their contributions in either stock. DISH

  may make discretionary profit-sharing contributions of DISH common stock. In separate

  transactions in 2017 and 2019, DISH acquired certain employees of EchoStar,2 whose assets,

  including those invested in EchoStar common stock, were transferred into the Plan.




  2
   Prior to certain of its employees being acquired by DISH, EchoStar was already part of an Internal Revenue Code
  Section 414 brother-sister controlled group of corporations with DISH, so all acquired EchoStar employees were given
  prior service credit under the Plan for eligibility and vesting purposes for the time they were employed by EchoStar.

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             24.    During the Class Period, Plan assets were held in a trust by the Plan Trustee,

  Fidelity Management Trust Company. All investments and asset allocations are performed

  through this trust instrument.

  B.         The Defined Contribution Industry

             25.    Failures by ERISA fiduciaries to monitor fees and costs for reasonableness, such

  as those identified herein, have stark financial consequences for retirees. Every extra level of

  expenses imposed upon plan participants compounds over time and reduces the value of

  participants’ investments available upon retirement. Over time, even small differences in fees

  compound and can result in vast differences in the amount of a participant’s savings available at

  retirement. As the Supreme Court has explained, “[e]xpenses, such as management or

  administrative fees, can sometimes significantly reduce the value of an account in a defined-

  contribution plan.” Tibble v. Edison Int'l, 575 U.S. 523, 525 (2015).

             26.    The impact of excessive fees on a plan’s employees’ and retirees’ retirement

  assets is dramatic. The U.S. Department of Labor (“DOL”) has noted that a 1% higher level of

  fees over a 35-year period makes a 28% difference in retirement assets at the end of a

  participant’s career.3

             27.    Plan participants typically have little appreciation of the fees being assessed to

  their accounts. Indeed, according to a 2017 survey conducted by TD Ameritrade, only 27% of

  investors believed they knew how much they were paying in fees as participants in defined

  contribution plans, and 37% were unaware that they paid defined contribution fees at all.4 It is


  3
      A Look at 401(k) Plan Fees, UNITED STATES DEPT. OF LABOR at 1-2 (Sept. 2019),
  https://www.dol.gov/sites/dolgov/files/ebsa/about-ebsa/our-activities/resourcecenter/publications/a-look-at-401k-
  plan-fees.pdf (last visited January 3, 2022).
  4
   See https://s2.q4cdn.com/437609071/files/doc_news/research/2018/Investor-Sentiment-Infographic-401k-fees.pdf
  (last visited January 3, 2022).

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  incumbent upon plan fiduciaries to act for the exclusive best interest of plan participants, protect

  their retirement dollars, and ensure that fees are and remain reasonable for the services provided

  and properly and fully disclosed. Unfortunately, fiduciaries of defined contribution retirement

  plans, including large retirement plans like the Plan, also often lack understanding of the fees

  being charged to the plans that they administer, manage and control.

  C.     Recordkeeping and Administrative Services

         28.     Fiduciaries of virtually all large defined contribution plans, including the Plan,

  hire a single provider to provide the essential recordkeeping and administrative (“RK&A”)

  services for the plan. These services include, but are not limited to, maintaining plan records,

  tracking participant account balances and investment elections, providing transaction processing,

  providing call center support and investment education and guidance, providing participant

  communications, and providing trust and custodial services.

         29.     The term “recordkeeping” is a catchall term for the entire suite of recordkeeping

  and administrative services typically provided by a plan’s service provider or “recordkeeper” –

  that is recordkeeping fees and RK&A fees are one and the same and the terms are used

  synonymously.

         30.     Recordkeepers typically collect their fees in two forms, respectively referred to as

  “direct” compensation and “indirect” compensation.

         31.     Direct compensation is paid directly from plan assets and reflected as a deduction

  in the value of participant accounts.

         32.     Indirect Compensation is paid to the recordkeeper indirectly by third parties and is

  not transparent to retirement plan participants. In other words, the fees are taken from the

  investment options prior to the value of the investment option being provided to the participant.



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   Thus, in most cases, participants are not aware that they are paying these fees. Most indirect

   compensation is typically collected by recordkeepers through asset-based “revenue sharing.”

          33.      Virtually all recordkeepers are subsidiaries or affiliates of financial services and

   insurance companies that also provide investment options to defined contribution plans, (e.g.,

   mutual funds, insurance products, collective trusts, separate accounts, etc.), or have some other

   ancillary line of business (e.g., consulting) to sell to plans. As a result, all recordkeepers

   consider the economic benefit of their entire relationship with a defined contribution plan when

   setting fees for the RK&A services. Simply put, discounts in the RK&A fee rate are often

   available based on revenues the recordkeeper earns through the provision of other services (e.g.,

   investment management revenues). In many cases, the additional investment management

   revenues are more than double or triple the revenue earned by the recordkeeper for providing

   RK&A services.

          34.      There are two types of essential recordkeeping services provided by all national

   recordkeepers for large plans with substantial bargaining power (like the Plan). First, an overall

   suite of recordkeeping services is provided to large plans as part of a “bundled” arrangement for

   a buffet style level of service (meaning that the services are provided, in retirement industry

   parlance, on an “all-you-can-eat” basis), including, but not limited to, the following services:

              i.      Recordkeeping;

             ii.      Transaction processing (which includes the technology to process purchases

                      and sales of participants’ assets, as well as providing the participants access to

                      investment options selected by the plan sponsor);

            iii.      Administrative services related to converting a plan from one recordkeeper to

                      another;



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            iv.         Participant communications (including employee meetings, call centers/phone

                        support, voice response systems, web account access, and the preparation of

                        other materials distributed to participants, e.g., summary plan descriptions);

             v.         Maintenance of an employer stock fund (if needed);

            vi.         Plan document services, which include updates to standard plan documents to

                        ensure compliance with new regulatory and legal requirements;

           vii.         Plan consulting services, including assistance in selecting the investment

                        lineup offered to participants;

           viii.        Accounting and audit services, including the preparation of annual reports,

                        e.g., Form 5500s5 (excluding the separate fee charged by an independent

                        third-party auditor);

            ix.         Compliance support, including assistance interpreting plan provisions and

                        ensuring the operation of the plan is in compliance with legal requirements

                        and the provisions of the plan (excluding separate legal services provided by a

                        third-party law firm); and

             x.         Compliance testing to ensure the plan complies with U.S. Internal Revenue

                        Service nondiscrimination rules.

           35.     This suite of essential RK&A services can be referred to as “Bundled RK&A”

   services. These services are offered by all recordkeepers for one price (typically at a per capita

   price), regardless of the services chosen or utilized by the plan. Anyone who has passing

   familiarity with recordkeepers’ responses to requests for proposals, their bids and their contracts

   understands and appreciates that the services chosen by a large plan do not affect the amount


   5
   The Form 5500 is the annual report that defined contribution plans are required to file with the DOL and U.S.
   Department of Treasury pursuant to the reporting requirements of ERISA.

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   charged by recordkeepers for such basic and fungible services and any claim by Defendants that

   recordkeeping expenses depend upon the service level provided to a plan with respect to the

   above services is both false and frivolous. Nonetheless, as is all too often the case, fiduciary-

   defendants often disingenuously assert that the cost of Bundled RK&A services depend upon

   service level (even though such an assertion is plainly untrue based upon the actual marketplace

   for such services), as part of attempt to perpetuate misunderstanding by the less informed in

   order to stave off breach of fiduciary duty claims.

          36.       The second type of essential RK&A services, hereafter referred to as “A La Carte

   RK&A” services, provided by all national recordkeepers, often has separate, additional fees

   based on the conduct of individual participants and the usage of the services by individual

   participants. These fees are distinct from the Bundled RK&A arrangement to ensure that one

   participant is not forced to help another cover the cost of, for example, taking a loan from their

   plan account balance. These A La Carte RK&A services typically include, but are not limited to,

   the following:

             i.        Loan processing;

            ii.        Brokerage services/account maintenance (if offered by the plan);

           iii.        Distribution services; and

            iv.        Processing of qualified domestic relations orders.

          37.       All national recordkeepers have the capability to provide all of the

   aforementioned RK&A services to all large defined contribution plans, including those much

   smaller than the Plan.

          38.       For large plans with greater than 5,000 participants, any minor variations in the

   way that these essential RK&A services are delivered have no material impact on the fees



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   charged by recordkeepers to deliver the services. That fact is confirmed by the practice of all

   recordkeepers quoting fees for the Bundled RK&A services on a per-participant basis without

   regard for any individual differences in services requested—which are treated by recordkeepers

   as immaterial because they are, in fact, inconsequential to recordkeepers from a cost perspective.

          39.     While recordkeepers in the defined contribution industry attempt to distinguish

   themselves through marketing and other means, they all actually offer the same bundles and

   combinations of services as their competitors. Accordingly, the market for defined contribution

   plan RK&A services has become increasingly price competitive, particularly for larger plans

   that, like the Plan, have a considerable number of participants and significant assets.

          40.     The marginal cost of adding an additional participant to a recordkeeping platform

   is relatively low. These economies of scale are inherent in all recordkeeping arrangements for

   defined contribution plans, including the Plan. As a plan’s participant count increases, the

   recordkeeper’s fixed costs of providing RK&A services are spread over a larger population,

   thereby reducing the average unit cost of delivering services on a per-participant basis.

          41.     Due to these economies of scale that are part of a recordkeeping relationship, and

   because the incremental variable costs for providing RK&A are dependent on the number of

   participants with account balances in a defined contribution plan, the cost to the recordkeeper on

   a per-participant basis declines as the number of plan participants increases and, as a result, a

   recordkeeper is willing to accept a lower fee to provide RK&A as the number of participants in

   the plan increases.

          42.     As a result, it is axiomatic in the retirement plan services industry that, all else

   being equal: (1) a plan with more participants can and will receive a lower effective per-

   participant fee when evaluated on a per-participant basis; and (2) that as participant counts



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   increase, the effective per-participant RK&A fee should decrease, assuming the same services

   are provided.

          43.      Similarly, the average cost to a recordkeeper of providing services to a participant

   does not hinge on that participant’s account balance. In other words, it costs a recordkeeper the

   same amount to provide services to a participant with an account balance of $10,000 as it does to

   provide services to a participant with a balance of $1,000,000.

          44.      Informed, prudent plan fiduciaries are aware of these cost structure dynamics.

   Understanding these marketplace realities and facts, prudent fiduciaries of large plans (like the

   Plan) will leverage the plan’s participant count to obtain lower effective per-participant fees.

          45.      Because recordkeeping fees are actually paid in dollars, prudent fiduciaries

   evaluate the fees for RK&A services on a dollar-per-participant basis. This is the current

   standard of care for ERISA fiduciaries and has been throughout the Class Period.

          46.      Prudent fiduciaries will regularly ensure that a plan is paying fees commensurate

   with its size in the marketplace by soliciting competitive bids from recordkeepers other than the

   plan’s current provider. Recognizing that RK&A services are essentially uniform in nature, and

   that small differences in the services required by a large plan are immaterial to the cost of

   providing such services, most recordkeepers only require a plan’s participant count and asset

   level in order to provide a fee quote. These quotes are typically provided on a per-participant

   basis, enabling fiduciaries to easily compare quotes on an apples-to-apples basis to determine if

   the current level of fees being charged by a plan’s recordkeeper is reasonable.

          47.      Once a prudent fiduciary has received quotes, if necessary, the fiduciary can then

   negotiate with the plan’s current provider for a lower fee or move to a new provider to provide

   the same (or better) services for a competitive (or lower) reasonable fee. This is because prudent



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   fiduciaries understand that excessive fees significantly and detrimentally impact the value of

   participants’ retirement accounts.

          48.     After negotiating the fee to be paid to the recordkeeper and electing to have the

   plan (i.e., participants) pay that fee, the fiduciaries can allocate the negotiated fees among

   participant accounts at the negotiated per-participant rate or pro rata based on participant

   account balances, among other less common ways.

   D.     Defendants’ Breaches of Fiduciary Duties

          49.     As discussed in detail below, Defendants have severely breached their fiduciary

   duties of prudence and/or loyalty to the Plan in several significant ways. Plaintiffs did not

   acquire actual knowledge regarding Defendants’ breaches at issue here until shortly before this

   Complaint was filed.

                  1.       The Plan’s Excessive Recordkeeping/Administrative Costs

          50.     An obvious indicator of Defendants’ breaches of their fiduciary duties is the

   Plan’s excessive RK&A costs. The impact of such high fees on participant balances is

   aggravated by the effect of compounding, to the significant detriment of participants over time.

   This effect is illustrated by the below chart, published by the SEC, showing the 20-year impact

   on a balance of $100,000 by fees of 25 basis points (0.25%), 50 basis points (0.50%), and 100

   basis points (1.00%).




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          51.      During the Class Period, participants paid Fidelity for RK&A services through

   direct charges to their accounts and indirectly through asset-based revenue sharing. The RK&A

   services provided to the Plan are and were the same standard services identified above, and those

   provided to comparable plans. There are no services provided to the Plan and its participants by

   Fidelity that are unusual or out of the ordinary. Regardless, for large plans, like the Plan here,

   any differences in services are immaterial to pricing considerations, the primary drivers of which

   are the number of participants and whether the plan fiduciaries employed a competitive process

   of soliciting bids to determine the reasonable market rate for the services required by the plan.

          52.      Since the start of the Class Period, Defendants allowed the Plan to be charged

   total amounts of RK&A fees that far exceeded the reasonable market rate. The table below sets

   forth the annual amounts per participant the Plan ultimately paid to Fidelity in RK&A fees, per

   the Plan’s Form 5500s.

                                             2016      2017       2018        2019        2020      Average
    Participant Accounts with a Balance     17,909    19,041     17,051      17,490      18,808      18,060
                   Direct Compensation $ 864,213 $ 1,318,313 $ 1,514,560 $ 1,635,485 $ 1,253,629 $ 1,317,240
            Administrative Credit to Plan $      ‐ $       ‐   $ (842,173) $ (640,711) $ (632,851) $ (423,147)
                   Fidelity RK&A Fee ($) $ 864,213 $ 1,318,313 $ 672,387 $ 994,774 $ 620,778 $ 894,093
                Fidelity RK&A Fee ($/pp)     $48       $69        $39         $57         $33         $49

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           53.      Given the Plan’s size, expected growth, and resulting negotiating power, with

   prudent management and administration, the Plan should unquestionably have been able to

   obtain reasonable rates for RK&A services that were significantly lower than the effective per-

   participant RK&A rates set forth above.

           54.      According to publicly available data and information from the Form 5500 filings

   of similarly sized defined contribution plans during the Class Period, other comparable plans

   were paying much lower fees than the Plan throughout the Class Period. That is clear and

   compelling evidence that the reasonable market rate is lower than what the Plan was paying

   since these comparable plans were able to negotiate lower fees for materially identical services.

           55.      The table below lists the RK&A fees paid by similarly sized defined contribution

   plans, which represent the prices available to the Plan during the Class Period. Some of these

   plans used Fidelity as their recordkeeper, while others used different high-quality, national

   recordkeepers. The table also indicates the number of participants and assets of each plan.

                            Plan                    Participants RK&A Fee ($) RK&A Fee ($/pp)         Recordkeeper
   PG&E Corporation Retirement Savings Plan           12,273     $ 350,111         $29                Fidelity
   Viacom 401(k) Plan                                 12,884     $ 411,959         $32                Great West
   Michelin 401(k) Savings Plan                       15,880     $ 543,332         $34                Vanguard
   Ecolab Savings Plan and ESOP                       17,886     $ 608,061         $34                Fidelity
   Dish Network Corporation 401(k) Plan Average Fee   18,060      $ 894,093        $49                Fidelity
   Fedex Office and Print Services, Inc. 401(k)
   Retirement Savings Plan                            19,354     $ 444,784         $23                Vanguard
   Qualcomm Incorporated Employee Savings and
   Retirement Plan                                    20,955     $ 639,143         $31                Fidelity
   The Rite Aid 401(k) Plan                           24,309     $ 719,730         $30                Great West
   Sanofi U.S. Group Savings Plan                     25,086     $ 567,836         $23                T. Rowe Price
   Philips North America 401(k) Plan                  28,348     $ 720,606         $23                Prudential

           56.      The RK&A fees calculated6 for each similar comparable plan in the table above

   include all the direct compensation paid to the recordkeeper disclosed on each plan’s Form 5500,


   6
    Fee calculations for the comparable plans are based on the information disclosed in each plan’s 2020 Form 5500, or
   the most recently filed Form 5500 if 2020 is not available.

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   as well as all indirect compensation. Specifically, if the plan’s pricing structure as described in

   each plan’s Form 5500 reveals that some or all of the revenue sharing is not returned to the plan,

   then the appropriate amount of revenue sharing is also included to calculate the RK&A fees. In

   some cases, the plan’s investment options do not contain revenue sharing and, as a result, any

   indirect revenue is immaterial to the RK&A fees. In other plans, all of the revenue sharing is

   returned to the plans and is therefore not included in the fee calculation.

          57.     The comparable plans above received at least the same RK&A services received

   by the Plan for the fees paid. In other words, the fees in the table above are apples-to-apples

   comparisons in that they include all the fees being charged by each recordkeeper to provide the

   same RK&A services to similar defined contribution plans.

          58.     As the table above indicates, the fees paid by the Plan for virtually the same

   package of services are much higher than those of plans with comparable, and in many cases

   smaller, participant counts. Indeed, based on fees paid by other large plans during the Class

   Period receiving materially identical RK&A services, it is clear and more than reasonable to

   infer that Defendants failed to follow a prudent process to ensure that the Plan was paying only

   reasonable fees. In light of the amounts remitted to Fidelity throughout the Class Period,

   Defendants clearly engaged in virtually no examination, comparison, or benchmarking of the

   RK&A fees of the Plan to those of other similarly sized defined contribution plans, or were

   complicit in paying grossly excessive fees.

          59.     Defendants’ failure to recognize that the Plan and its participants were grossly

   overcharged for RK&A services and their failure to take effective remedial actions amounts to a

   shocking breach of their fiduciary duties to the Plan. To the extent Defendants had a process in

   place, it was imprudent and ineffective given the objectively unreasonable level of fees the Plan



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   paid for RK&A services. Had Defendants appropriately monitored the compensation paid to

   Fidelity and ensured that participants were only charged reasonable RK&A fees, Plan

   participants would not have lost millions of dollars in their retirement savings over the last six-

   plus years.

                    2.       The Plan’s Investment in the Fidelity Freedom Funds

           60.      Among other investments, the Plan lineup offers a suite of fourteen target date

   funds (“TDF(s)”). A TDF is an investment vehicle that offers an all-in-one retirement solution

   through a portfolio of underlying funds that gradually shifts to become more conservative as the

   assumed target retirement year approaches. TDFs offer investors dynamic, easy asset allocation,

   while providing both long-term growth and capital preservation. All TDFs are inherently

   actively managed, because managers make changes to the allocations to stocks, bonds and cash

   over time. These allocation shifts are referred to as a fund’s glide path. The underlying mutual

   funds that TDF managers choose to represent each asset class can be actively or passively

   managed.

           61.      According to the Plan’s Form 5500s, since at least December 31, 2009,7 the Plan

   has offered the Fidelity Freedom fund target date suite. Fidelity Management & Research

   Company (“Fidelity”) is the second largest TDF provider by total assets. Among its several

   target date offerings, Fidelity offers the riskier and more costly Freedom funds (the “Active

   suite”) and the substantially less costly and less risky Freedom Index funds (the “Index suite”),

   as well as a suite of collective investment trust TDFs with certain structural advantages

   (described below). Defendants were responsible for crafting the Plan lineup and could have


   7
    The Form 5500 provides a detailed schedule of the Plan’s holdings at the end of each calendar year. The suite of
   Fidelity Freedom funds appears as a Plan investment option as far back as the 2009 Form 5500, the earliest publicly
   available filing.


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   chosen any of the target date families offered by Fidelity, or those of any other target date

   provider. Defendants failed to compare the Active and Index suites, as well as all other available

   TDFs (including actively managed TDFs), and consider their respective merits and features.

               62.     A simple weighing of the benefits of all other available TDFs at the beginning of

   the Class Period would have raised a significant red flag for prudent fiduciaries and indicated

   that the Active suite was not a suitable and prudent option for the Plan. In addition, any

   objective evaluation of the Active suite would have resulted in an examination of and the

   selection of a more consistent and better performing and more appropriate TDF than the Active

   suite. Had Defendants carried out their responsibilities in a single-minded manner with an eye

   focused solely on the interests of the participants, they would have come to this conclusion and

   acted upon it. Instead, Defendants failed to act in the sole interest of Plan participants, and

   breached their fiduciary duty by imprudently selecting and retaining the Active suite.

               63.     The two fund families (i.e., the Active suite and the Index suite) have nearly

   identical names and share a management team.8 But while the Active suite invests

   predominantly in actively managed Fidelity mutual funds,9 the Index suite places no assets under

   active management, electing instead to invest in Fidelity funds that simply track market indices.

   The Active suite is also dramatically more expensive than the Index suite, and riskier in both its

   underlying holdings and its asset allocation strategy. Defendants’ decision to add the Active

   suite over another prudent TDF suite, and their failure to replace the Active suite at any point

   during the Class Period, constitutes a glaring breach of their fiduciary duties.10


   8
    Both target date suites have been managed by Brett Sumsion and Andrew Dierdorf since 2014. Finola McGuire
   Foley was added to the Index suite team in 2018.
   9
       Per Morningstar, the Active suite’s underlying holdings are 88.8% actively managed, by asset weight.
   10
     While the Active suite has enjoyed some positive recent returns, such performance does not absolve Defendants of
   their breaches throughout the Class Period. Indeed, the managers of the Active suite made certain tactical shifts in the

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           64.      Exacerbating Defendants’ imprudent choice to add and retain the Active suite is

   its role as the Plan’s Qualified Default Investment Alternative (“QDIA”). Under DOL

   regulations, retirement plan fiduciaries can designate one of the investment offerings in a plan’s

   lineup as a QDIA to aid participants who lack the knowledge or confidence to make investment

   elections for their retirement assets; if participants do not direct where their assets should be

   invested, all contributions are automatically invested in the QDIA. Plan fiduciaries are

   responsible for the prudent selection and monitoring of an appropriate QDIA. The Fidelity

   Freedom fund with the target year closest to a participant’s assumed retirement age (i.e., age 65)

   serves as the QDIA in the Plan.

           65.      Given that the vast majority of plan participants are not sophisticated investors,

   many of the Plan participants, by default, concentrate their retirement assets in TDFs. As such,

   the impact of Defendants’ imprudent selection of TDFs is magnified vis-à-vis other asset

   categories. Indeed, by December 31, 2020, approximately 47% of the Plan’s assets were

   invested in the Active suite.

                             i.       The Active Suite is High-Risk and Unsuitable for Plan Participants

           66.      The Active suite chases returns by taking levels of risk that render it unsuitable

   for the average retirement investor, including participants in the Plan. At first glance, the equity

   glide paths of the Active suite and Index suite appear nearly identical, which would suggest both

   target date options have a similar risk profile. However, the Active suite subjects its assets to

   significantly more risk than the Index suite, through multiple avenues. At the underlying fund



   funds’ asset allocation in or about 2020 that yielded positive returns in the high-volatility environment in 2020 and
   2021, effectively undertaking a further strategy change and rendering the Active suite’s recent performance less than
   meaningful in assessing the prudence of maintaining the Active suite in the Plan during the Class Period. The fact
   that the changes in the Active suite produced more positive returns (as additional risk was undertaken) over a short
   period of time does not exonerate Defendants. To hold otherwise would require a hindsight analysis not permitted
   under controlling precedent.

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   level, where the Index suite invests only in index funds that track segments of the market, the

   Active suite primarily features funds with a manager deciding which securities to buy and sell,

   and in what quantities.

           67.     The goal of an active manager is to beat a benchmark—usually a market index or

   combination of indices—by taking on additional risk. Market research has indicated that

   investors should be very skeptical of an actively managed fund’s ability to consistently

   outperform its index, which is a significant concern for long-term investors saving for retirement,

   like the Plan participants in this action. Actively managed funds tend to charge higher fees than

   index funds (which are passed on to the target date fund investor through higher expense ratios).

   These extra costs present an additional hurdle for active managers to clear in order to provide

   value and compensate investors for the added risk resulting from their decision-making. Indeed,

   Morningstar has repeatedly concluded that “in general, actively managed funds have failed to

   survive and beat their benchmarks, especially over longer time horizons.”11 Although they may

   experience success over shorter periods, active fund managers are rarely able to time the market

   efficiently and frequently enough to outperform the market. The Active suite’s allocation to

   primarily actively managed funds subjects investor dollars to the decision-making skill and

   success, or lack thereof, of the underlying managers and the concomitant risk associated with

   these investments.

           68.     At all times across the glide path, the Active suite’s top three domestic equity

   positions were and are in Fidelity Series funds (funds created for exclusive use in the Freedom

   funds), two of which have dramatically trailed their respective indices over their entire respective

   lifetimes. The Intrinsic Opportunities Fund, which is currently allocated 7.97% of the total


   11
     “How Actively and Passively Managed Funds Performed: Year-End 2018”;
   https://www.morningstar.com/insights/2019/02/12/active-passive-funds.

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   assets in the 2040-2065 Funds, has, over its lifetime, missed its benchmark, the Russell 3000

   Index, by an incredible 185 basis points (1.85%) on an annualized basis. The Large Cap Stock

   Fund, which is currently allocated 6.95% of the total assets in the 2040-2065 Funds, has suffered

   even worse underperformance; its annualized lifetime returns trail that of its benchmark, the S&P

   500 Index, by 276 basis points (2.76%). The portfolio of the Active suite is diversified among

   32 underlying investment vehicles; the two aforementioned series funds represent approximately

   15% of the 2040 through 2065 vintages, meaning for at least 20 years (because those target date

   funds have an associated target retirement date of at least twenty years from now), 15% of

   investor dollars are subject to the poor judgment exercised by just those two managers.

           69.      Manager performance issues among the underlying investments in the Active

   suite are not limited to the largest positions. Of the 26 actively managed Fidelity Series Funds in

   the Active suite portfolio, half similarly trail their respective benchmarks over their respective

   lifetimes. Defendants never undertook a review of the performance of the funds comprising the

   Active suite portfolio during the Class Period.

           70.      Moreover, as of the start of the Class Period, several of the underlying funds used

   within the Active suite portfolio lacked a sufficient performance history to enable fiduciaries to

   perform a meaningful analysis. No prudent fiduciary would have been able to properly evaluate

   these funds. Indeed, 14 out of 24 funds12 failed to meet the basic criteria of at least a five-year

   performance track record. Accordingly, almost two-thirds of the funds used in the Active suite

   portfolio would have failed one of the most basic fiduciary requirements. Defendants failed to

   undertake any such analysis at the start of, or at any subsequent point during, the Class Period.



   12
     The two short-term debt funds, namely the Fidelity Institutional Money Market Fund and the Fidelity Short-Term
   Bond Fund, are excluded. History and outperformance are less relevant in this market segment given the limited
   scope for outperformance.

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     Underlying Fund Name                     Ticker   Inception Date Less than 5-Years Performance
     Fidelity Series 100 Index                FOHIX    20070329
     Fidelity Series 1000 Value Index         FSIOX    20130711                     x
     Fidelity Series All-Sector Equity        FSAEX    20081017
     Fidelity Series Blue Chip Growth         FSBDX    20130711                     x
     Fidelity Series Commodity Strategy       FCSSX    20090110
     Fidelity Series Emerging Markets Debt    FEDCX    20110317                     x
     Fidelity Series Emerging Markets         FEMFX    20080912
     Fidelity Series Equity-Income            FRLLX    20120612                     x
     Fidelity Series Floating Rate Hi Inc     FFHCX    20111020                     x
     Fidelity Series Growth & Income          FTBTX    20120612                     x
     Fidelity Series Growth Company           FCGSX    20130711                     x
     Fidelity Series High Income              FSHNX    20111003                     x
     Fidelity Series Infl-Prtct Bd Idx        FSIPX    20090929
     Fidelity Series International Growth     FIGSX    20090312
     Fidelity Series International Sm Cap     FSTSX    20090312
     Fidelity Series International Value      FINVX    20090312
     Fidelity Series Intrinsic Opps           FDMLX    20120612                     x
     Fidelity Series Investment Grade Bond    FSIGX    20080810
     Fidelity Series Opportunistic Insights   FVWSX    20120612                     x
     Fidelity Series Real Estate Equity       FREDX    20111020                     x
     Fidelity Series Real Estate Income       FSREX    20111020                     x
     Fidelity Series Small Cap Discovery      FJACX    20130711                     x
     Fidelity Series Small Cap Opps           FSOPX    20070322
     Fidelity Series Stk Selec Lg Cp Val      FBLEX    20120612                     x

          71.     Of the remaining underlying funds with a sufficient track record, only two had

   outperformed their prospectus benchmark over the previous three- and five-year period as of the

   start of the Class Period. Accordingly, 22 of the 24 funds comprising the Active suite portfolio

   at the start of the pertinent period would not have fulfilled the most basic fiduciary criteria.

   Clearly, Defendants neglected to undertake any such analysis.

          72.     Compounding the level of risk inherent in the Active suite’s underlying holdings

   is the suite’s managers’ approach to portfolio construction and asset allocation decisions.

   Returning to the equity glide paths discussed above, the Active and Index suites appear to follow

   essentially the same strategy. The chart below shows the percentage of assets devoted to equities

   in each vintage.

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                                                 Equity Glide Path
                                                       Years to Target Retirement Year
           Series                     40    35   30    25 20 15 10 5            0 ‐5 ‐10 ‐15 ‐20
           Fidelity Freedom           90    90   90    90 89 78 65 58 53 43 35 24 24
           Fidelity Freedom Index     90    90   90    90 90 80 65 59 52 43 34 24 24

           73.      This chart only considers the mix of the portfolio at the level of stocks, bonds and

   cash. A deeper examination of the sub-asset classes of the Active suite’s portfolio, however,

   exposes the significant risks its managers take to boost returns. Across the glide path, the Active

   suite allocates approximately 1.5% more of its assets to riskier international equities than the

   Index suite. The Active suite also has higher exposure to classes like emerging markets and high

   yield bonds. Defendants failed to investigate the level of risk inherent in the Active suite

   portfolio and did not determine whether the risk level was suitable for Plan participants at any

   point during the Class Period.

           74.      Since the Active suite series underwent a strategy overhaul in 2013 and 2014, its

   managers have had the discretion to deviate from the glide path allocations by 10 percentage

   points in either direction. In a departure from the accepted wisdom that target date funds should

   maintain pre-set allocations, Fidelity encouraged its portfolio managers to attempt to time market

   shifts in order to locate underpriced securities, which the firm dubs “active asset allocation.”

   This strategy heaps further unnecessary risk on investors, such as Plan participants, in the Active

   suite. . A March 2018 Reuters special report on the Fidelity Freedom funds (the “Reuters

   Report”) details how many investors lost confidence in the Active suite “because of their history

   of underperformance, frequent strategy changes and rising risk.”13 The report quotes a member

   of Longfellow Advisors, who told Reuters that, after the 2014 changes, “it was not clear to us


   13
     “Special Report: Fidelity puts 6 million savers on risky path to retirement”, https://www.reuters.com/article/us-
   funds-fidelity-retirement-special-rep/special-report-fidelity-puts-6-million-savers-on-risky-path-to-retirement-
   idUSKBN1GH1SI.


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   that [the managers of the Active suite] knew what they were doing.”14 While many TDF

   managers are increasing exposure to riskier investments in an effort to augment performance by

   taking on additional risk, the president of research firm, Target Date Solutions, states that the

   Active suite has gone further down this path than its peers.15 Morningstar has noted in the past

   that active management has hindered the Active suite’s performance, criticizing a previous poor

   decision to heavily weight to commodities. Other industry experts have criticized the “chaotic

   glide paths” of the Active suite relative to peer target date providers.16 Morningstar similarly

   characterized Fidelity’s shifts in the allocation of stocks between 1996 and 2010 as “shocking”

   and “seemingly chaotic.” Yet, since 2014, a fund family with a history of poor decisions has

   been given “carte blanche” to take further risks, to the severe detriment of the Plan and its

   participants. Defendants never initiated or undertook any review or scrutiny of the Active suite’s

   strategy changes.

            75.      This desire and latitude to assume more risk exposes investors in what Fidelity

   brands “a lifetime savings solution” to significant losses in the event of volatility similar to the

   downturn experienced during the COVID-19 epidemic. Morningstar analyst Jeff Holt opines

   that the popularity of target date funds derives from investors’ belief that the funds are designed

   to “not lose money.” As a result, the average unsophisticated investor, such as the typical

   participant in the Plan, tends to gravitate toward the all-in-one savings solution a target date fund

   offers. Given this reality, Plan participants should be shielded from the riskiest fund families

   where active manager decisions could amplify losses in periods of market decline.

                              ii.      The Active Suite’s Considerable Cost



   14
      Id.
   15
      Id.
   16
      Idzorek, T., J. Stempien, and N. Voris, 2011, Bait and Switch: Glide Path Instability, Ibbotson Associates.

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           76.     Even a minor increase in a fund’s expense ratio (the total annual cost to an

   investor, expressed as a percentage of assets) can considerably reduce long-term retirement

   savings. The fees charged by the Active suite are many multiples higher than the Index suite’s

   industry-leading low costs. While the Institutional Premium share class for each target year of

   the Index suite charges a mere 8 basis points (0.08%), the K share class of the Active suite—

   which the Plan offers—has expense ratios ranging from 42 basis points (0.42%) to 65 basis

   points (0.65%).




           77.     Higher fees significantly reduce retirement account balances over time.

   Considering just the gap in expense ratios from the Plan’s investment in the Active suite to the

   Institutional Premium share class of the Index suite, in 2020 alone, the Plan could have saved

   approximately $2.06 million in costs. This tremendous cost difference goes straight into

   Fidelity’s pockets and is paid for by Plan participants. As the costs for recordkeeping services

   have dropped precipitously over the past decade,17 recordkeepers like Fidelity have been forced


   17
    “NEPC: Corporate Defined Contribution Plans Report Flat Fees,”https://www.nepc.com/press/nepc-corporate-
   defined-contribution-plans-report-flat-fees.

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   to chase profits elsewhere. The management fees derived from a plan’s use of a provider’s

   investment offerings substantially trump any compensation for recordkeeping services. Thus,

   Fidelity is heavily incentivized to promote its own investment products, specifically those that

   charge the highest fees, to each plan for which it recordkeeps, including the Plan.

                               iii.    Investors Have Lost Faith in the Active Suite

              78.      The flow of funds to, or from, target date families constitutes one indicator of the

   preferences of investors at large. According to Morningstar’s report on the 2019 Target Date

   Fund Landscape,18 investor demand for low-cost target date options has skyrocketed in recent

   years. Following suit, the Index suite has seen significant inflows, receiving an estimated $4.9

   billion in new funds in 2018 alone. At the same time, investor confidence in the Active suite has

   deteriorated; 2018 saw the series experience an estimated $5.4 billion in net outflows. The

   movement of funds out of the Active suite has been substantial for years; the Reuters Report

   notes that nearly $16 billion has been withdrawn from the fund family over the prior four years.

   Defendants’ conduct, in offering and maintaining the Active suite in the Plan, evidences their

   failure to acknowledge, or act upon, investors’ crumbling confidence in the Active suite, while

   ignoring the simultaneous and justified surge in faith in the Index suite.

                               iv.     The Active Suite’s Inferior Returns

              79.      Exacerbating, and indeed the most significant of, the myriad issues identified

   above was the Active suite’s miserable performance when measured against any of the other

   most widely utilized TDF offerings. Throughout the Class Period, there were many TDFs that

   consistently outperformed the Active suite, providing investors with substantially more capital

   appreciation. It is apparent, given the continued presence of the Active suite in the Plan’s


   18
        “2019 Target-Date Fund Landscape: Simplifying the Complex.”


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   investment menu, that Defendants never scrutinized the performance of the Active suite,

   prompted by the numerous red flags detailed above or otherwise, against any of the more

   appropriate alternatives in the TDF marketplace.

            80.      A prudent fiduciary evaluates TDF returns not only against an appropriate index

   or a group of peers TDFs, but also against specific, readily investable alternatives to ensure that

   participants are benefitting from the current TDF offering. At the start of the Class Period, the

   Active suite ranked dead last when measured against the primary offerings of four of the five19

   largest non-Fidelity managers in the TDF marketplace. The below performance table, comparing

   the three- and five-year annualized returns of several representative vintages of the Active suite

   to those of the same iterations of the Vanguard Target Retirement Funds Investor Class, the T.

   Rowe Price Retirement Funds Investor Class, the American Funds Target Date Funds Class R6,

   and the J.P. Morgan SmartRetirement Funds Institutional Class, represents information available

   to Defendants at the start of the Class Period from the most recent quarter-end (the Fourth

   Quarter of 2015). Defendants could have sought this data from the Plan’s investment advisor,

   Cook Street Consulting, or Fidelity, or indeed obtained it themselves through just a few clicks of

   a computer mouse.




   19
     Along with Vanguard, Fidelity, T. Rowe Price, American Funds and J.P. Morgan, BlackRock is among the six largest
   TDF managers. BlackRock’s only widely utilized TDF suite, the BlackRock LifePath Index Funds (the “LifePath
   Funds”), did not yet have a five-year performance history by the start of the Class Period, and accordingly, it is not
   included in the performance comparison tables in this Complaint.

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                                      Three‐Year Annualized Return as of 4Q15
                                         Retirement 2020       2030       2040 2050
                          American Funds     6.02% 8.28% 10.56% 10.87% 10.91%
                          T. Rowe Price      5.26% 7.52% 9.28% 10.23% 10.23%
                          Vanguard           3.71% 7.21% 8.52% 9.46% 9.47%
                          J.P. Morgan        3.82% 6.32% 8.26% 9.14% 9.16%
                          Fidelity Freedom 2.66% 5.96% 7.61% 8.50% 8.75%

                                       Five‐Year Annualized Return as of 4Q15
                                          Retirement 2020       2030      2040                2050
                          American Funds      6.43% 7.72% 9.10% 9.22%                        9.25%
                          T. Rowe Price       5.68% 7.15% 8.21% 8.73%                        8.76%
                          Vanguard            4.91% 6.85% 7.59% 8.11%                        8.12%
                          J.P. Morgan         4.47% 6.38% 7.32% 7.85%                        7.87%
                          Fidelity Freedom 3.27% 5.58% 6.49% 6.89%                           6.92%
                          *Neither American Funds or T. Rowe Price offer a Retirement
                          vintage. Accordingly, the 2010 vintage is used as a proxy for
                          participants already in retirement.

            81.      Across the board, at all stages along the Active suite’s glide path from aggressive

   to conservative, the Active suite’s returns paled in comparison to those of the above readily

   available alternatives. Defendants, however, neglected to undertake any analysis of the Active

   suite against appropriate peers using the above or other important performance metrics.20 If

   Defendants had taken their fiduciary duties seriously during the Class Period, they would have

   replaced the Active suite with a suitable alternative TDF. Their failure to do so caused Plan

   participants to miss out on substantial investment returns for their retirement savings.

                     3.        The Plan’s Objectively Imprudent Investment Options

            82.      In addition to the Active suite, Defendants have saddled participants with

   additional objectively imprudent investment options. It is a basic principle of investment theory



   20
    Investment professionals and investment policy statements for virtually all competently managed defined
   contribution retirement plans appropriately recognize that the three-year and five-year annualized returns are the most
   important metrics for evaluating whether investment options should be maintained in a retirement plan lineup. Three-
   year returns as of the Fourth Quarter of 2015 are not currently publicly available for each of the investable alternatives.
   Such information was, however, easily accessible to Defendants at the time.


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   that the risks associated with an investment must first be justified by its potential returns for that

   investment to be rational. This principle applies even before considering the purpose of the

   investment and the needs of the investor, such as the retirement assets here. The Capital Asset

   Pricing Model (“CAPM”), which is used for pricing securities and generating expected returns

   for assets given the risk of those assets and the cost of capital, provides a mathematical formula

   distilling this principle:

            ERi=Rf+βi(ERm−Rf), where:

            ERi=expected return of investment
            Rf=risk-free rate
            βi=beta of the investment
            (ERm−Rf)=market risk premium

   Applied here and put simply, the βi is the risk associated with an actively-managed mutual fund

   or collective trust, which can only be justified if the ERi of the investment option is, at the very

   least, above that of its benchmark, Rf.21 Otherwise, the model collapses, and it would be

   imprudent to assume any risk without achieving associated return above the benchmark returns.

                              i.        The Royce Total Return Fund

            83.      The Royce Total Return Fund Institutional Class (“Royce”) has consistently and

   significantly underperformed its benchmark, the Russell 2000 Index, on a rolling five- and ten-

   year annualized basis. Defendants had access to the below returns data, as well as significantly

   more that is not currently publicly available, in real time during the Class Period:

            5-Year Trailing Performance

             As of                 Performance,         Russell 2000          Investment Option
                                   adjusted for         Index                 Performance/Underperformance
                                   investment           Benchmark             Compared to Benchmark
                                   expense

   21
     In this instance, the index benchmark takes place of the “risk-free” rate, as the investment option is measured against
   the performance of that investment category, rather than the typical U.S. Treasury Bonds or equivalent government
   security in a general CAPM calculation.

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         4Q2014       13.45%           15.55%         -2.10%

         4Q2015       7.14%            9.19%          -2.05%

         4Q2016       12.59%           14.46%         -1.87%

         4Q2017       12.45%           14.12%         -1.67%

         4Q2018       3.45%            4.41%          -0.96%

         4Q2019       7.61%            8.23%          -0.62%

         4Q2020       10.05%           13.26%         -3.21%




        10-Year Trailing Performance

         As of        Performance,     Russell 2000   Investment Option
                      adjusted for     Index          Performance/Underperformance
                      investment       Benchmark      Compared to Benchmark
                      expense
         4Q2014       7.62%            7.77%          -0.15%

         4Q2015       5.97%            6.80%          -0.83%

         4Q2016       6.99%            7.07%          -0.08%




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           4Q2017           8.11%              8.71%              -0.60%

           4Q2018           10.74%             11.97%             -1.23%

           4Q2019           10.49%             11.83%             -1.34%

           4Q2020           8.59%              11.20%             -2.61%




                                Royce Total Return Fund 10‐Year Trailing
                                    Outperformance v Benchmark
                             4Q14      4Q15     4Q16      4Q17     4Q18     4Q19      4Q20
                    0.00%

                   ‐0.50%

                   ‐1.00%

                   ‐1.50%

                   ‐2.00%

                   ‐2.50%

                   ‐3.00%


          84.     That Defendants have tolerated the Royce fund’s inferior returns for the entirety

   of the Class Period represents a shocking breach of fiduciary duty. When an investment option’s

   track record is so apparently poor, as it is here, Defendants should necessarily replace the fund in

   the Plan with an alternative that has demonstrated the ability to consistently outperform the

   benchmark, or, at the very least, retain an alternative that tracks the benchmark. By way of

   example and to illustrate, there is a Vanguard Russell 2000 Index Fund that simply tracks the

   Russell 2000 Index, with a very low expense ratio of 8 basis points (0.08%) for the Institutional

   share class. While participants should have had the option to achieve the index’s returns, at

   minimum, at minimal cost, Defendants’ imprudence in retaining the Royce fund instead forced

   them to pay 115 basis points (1.15%), a staggering 14 times the cost of the Vanguard Fund, to


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   consistently lag the index. Defendants’ failure to replace this underachieving investment option

   with better performing alternatives was a breach of fiduciary duty.

                                V.    ERISA’S FIDUCIARY STANDARDS

          85.     ERISA imposes strict fiduciary duties of loyalty and prudence upon the

   Defendants as fiduciaries of the Plan. Section 404(a) of ERISA, 29 U.S.C. § 1104(a), states, in

   relevant part, as follows:

                    [A] fiduciary shall discharge his duties with respect to a plan
                    solely in the interest of the participants and beneficiaries and -

                    (A)    for the exclusive purpose of

                           (i)       providing benefits to participants and their
                                     beneficiaries; and
                            (ii)     defraying reasonable expenses of administering the plan;

                                                  [and]

                   (B)     with the care, skill, prudence, and diligence under the
                           circumstances then prevailing that a prudent man acting in a like
                           capacity and familiar with such matters would use in the conduct
                           of an enterprise of like character and with like aims.

          86.     Under 29 U.S.C. § 1103(c)(l), with certain exceptions not relevant here, the assets

   of a plan shall never inure to the benefit of any employer and shall be held for the exclusive

   purposes of providing benefits to participants in a plan and their beneficiaries and defraying

   reasonable expenses of administering the plan.

          87.     Under ERISA, parties that exercise any authority or control over plan assets,

   including the selection of plan investments and service providers, are fiduciaries and must act

   prudently and solely in the interest of participants in a plan.




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          88.     ERISA’s fiduciary duties are “the highest known to the law” and must be

   performed “with an eye single” to the interests of participants. Donovan v. Bierwirth, 680 F.2d

   263, 271, 272 n. 8 (2d Cir. 1982).

          89.     ERISA also imposes explicit co-fiduciary liabilities on plan fiduciaries. Section

   405(a) of ERISA, 29 U.S.C. § 1105(a) provides a cause of action against a fiduciary for

   knowingly participating in a breach by another fiduciary and knowingly failing to cure any

   breach of duty. ERISA states, in relevant part, as follows:

                   In addition to any liability which he may have under any other
                   provision of this part, a fiduciary with respect to a plan shall be liable
                   for a breach of fiduciary responsibility of another fiduciary with
                   respect to the same plan in the following circumstances:

                          (1)      if he participates knowingly in, or knowingly
                                   undertakes to conceal, an act or omission of such
                                   other fiduciary, knowing such act or omission is a
                                   breach; or

                          (2)      if, by his failure to comply with section 404(a)(l) in
                                   the administration of his specific responsibilities
                                   which give risk to his status as a fiduciary, he has
                                   enabled such other fiduciary to commit a breach; or

                          (3)      if he has knowledge of a breach by such other fiduciary,
                                   unless he makes reasonable efforts under the
                                   circumstances to remedy the breach.

          90.     Section 502(a)(2) of ERISA, 29 U.S.C. § 1132(a)(2) authorizes a plan participant

   to bring a civil action to enforce a breaching fiduciary’s liability to the plan under Section 409,

   29 U.S.C. § 1109. Section 409(a) of ERISA provides, in relevant part:

                  Any person who is a fiduciary with respect to a plan who breaches
                  any of the responsibilities, obligations, or duties imposed upon
                  fiduciaries by this subchapter shall be personally liable to make
                  good to such plan any losses to the plan resulting from each such
                  breach, and to restore to such plan any profits of such fiduciary
                  which have been made through use of assets of the plan by the
                  fiduciary, and shall be subject to such other equitable or remedial

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                  relief as the court may deem appropriate, including removal of
                  such fiduciary.

                                    VI.     CLASS ALLEGATIONS

         91.      This action is brought as a class action by Plaintiffs on behalf of themselves and

   the following proposed Class:

                  All participants and beneficiaries in the DISH Network Corporation
                  401(k) Plan (the “Plan”) at any time on or after January 20, 2016 and
                  continuing to the date of judgment, or such earlier date that the Court
                  determines is appropriate and just (the “Class Period”), including any
                  beneficiary of a deceased person who was a participant in the Plan at any
                  time during the Class Period.

   Excluded from the Class are Defendants and the Judge to whom this case is assigned or any

   other judicial officer having responsibility for this case who is a beneficiary.

         92.      This action may be maintained as a class action pursuant to Rule 23 of the Federal

   Rules of Civil Procedure.

         93.      Numerosity. Plaintiffs are informed and believe that there are at least thousands

   of Class members throughout the United States. As a result, the members of the Class are so

   numerous that their individual joinder in this action is impracticable.

         94.      Commonality. There are numerous questions of fact and/or law that are common

   to Plaintiffs and all the members of the Class, including, but not limited to the following:

          (a)     Whether Defendants failed and continue to fail to discharge their duties with

   respect to the Plan solely in the interest of the Plan’s participants for the exclusive purpose of

   providing benefits to participants and their beneficiaries;

          (b)     Whether Defendants breached their fiduciary duties under ERISA by failing to

   defray the reasonable expenses of administering the Plan; and

          (c)     Whether and what form of relief should be afforded to Plaintiffs and the Class.


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          95.       Typicality. Plaintiffs, who are members of the Class, have claims that are typical

    of all of the members of the Class. Plaintiffs’ claims and all of the Class members’ claims arise

    out of the same uniform course of conduct by Defendants and arise under the same legal

    theories that are applicable as to all other members of the Class. In addition, Plaintiff seeks

    relief for the Plan under the same remedial theories that are applicable as to all other members

    of the Class.

          96.       Adequacy of Representation. Plaintiffs will fairly and adequately represent the

    interests of the members of the Class. Plaintiffs have no conflicts of interest with or interests

    that are any different from the other members of the Class. Plaintiffs have retained competent

    counsel experienced in class action and other complex litigation, including class actions under

    ERISA.

          97.       Potential Risks and Effects of Separate Actions. The prosecution of separate

   actions by or against individual Class members would create a risk of: (A) inconsistent or

   varying adjudications with respect to individual Class members that would establish

   incompatible standards of conduct for the party opposing the Class; or (B) adjudications with

   respect to individual class members that, as a practical matter, would be dispositive of the

   interests of the other members not parties to the individual adjudications or would substantially

   impair or impede their ability to protect their interests.

          98.       Predominance. Common questions of law and fact predominate over questions

    affecting only individual Class members, and the Court, as well as the parties, will spend the

    vast majority of their time working to resolve these common issues. Indeed, virtually the only

    individual issues of significance will be the exact amount of damages recovered by each Class




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   member, the calculation of which will ultimately be a ministerial function and which does not

   bar Class certification.

         99.      Superiority. A class action is superior to all other feasible alternatives for the

   resolution of this matter. The vast majority of, if not all, Class members are unaware of

   Defendants’ breaches of fiduciary duty and prohibited transactions such that they will never

   bring suit individually. Furthermore, even if they were aware of the claims they have against

   Defendants, the claims of virtually all Class members would be too small to economically

   justify individual litigation. Finally, individual litigation of multiple cases would be highly

   inefficient, a gross waste of the resources of the courts and of the parties, and potentially could

   lead to inconsistent results that would be contrary to the interests of justice.

         100.     Manageability. This case is well-suited for treatment as a class action and easily

   can be managed as a class action since evidence of both liability and damages can be adduced,

   and proof of liability and damages can be presented, on a Class-wide basis, while the allocation

   and distribution of damages to Class members would be essentially a ministerial function.

         101.     Defendants have acted on grounds generally applicable to the Class by uniformly

   subjecting them to the breaches of fiduciary duty described above. Accordingly, injunctive

   relief, as well as legal and/or equitable monetary relief (such as disgorgement and/or

   restitution), along with corresponding declaratory relief, are appropriate with respect to the

   Class as a whole.

          102.    Plaintiffs’ counsel will fairly and adequately represent the interests of the Class

   and are best able to represent the interests of the Class under Rule 23(g) of the Federal Rules of

   Civil Procedure. Moreover, treating this case as a class action is superior to proceeding on an

   individual basis and there will be no difficulty in managing this case as a class action.


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           103.    Therefore, this action should be certified as a class action under Rules 23(a) and

   23(b)(1) and/or 23(b)(3) of the Federal Rules of Civil Procedure.

                                               COUNT I
                                     (For Breach of Fiduciary Duty)

           104.    Plaintiffs incorporate by reference the allegations in the previous paragraphs of

   this Complaint as if fully set forth herein.

           105.    Defendants’ conduct, as set forth above, violates their fiduciary duties under

   Sections 404(a)(1)(A), (B) and (D) of ERISA, 29 U.S.C. § 1104(a)(1)(A), (B) and (D), in that

   Defendants failed and continue to fail to discharge their duties with respect to the Plan solely in

   the interest of the Plan’s participants and beneficiaries and (a) for the exclusive purpose of (i)

   providing benefits to participants and their beneficiaries; and (ii) defraying reasonable expenses

   of administering the Plan with (b) the care, skill, prudence, and diligence under the

   circumstances then prevailing that a prudent man acting in a like capacity and familiar with such

   matters would use in the conduct of an enterprise of a like character and with like aims, and (c)

   by failing to act in accordance with the documents and instruments governing the Plan. In

   addition, as set forth above, Defendants violated their respective fiduciary duties under ERISA to

   monitor other fiduciaries of the Plan in the performance of their duties.

           106.    To the extent that any of the Defendants did not directly commit any of the

   foregoing breaches of fiduciary duty, at the very minimum, each such Defendant is liable under

   29 U.S.C. § 1105(a) because he, she, they or it was a co-fiduciary and knowingly participated in

   (or concealed) a breach by another fiduciary, enabled another fiduciary to commit breaches of

   fiduciary duty in the administration of his, her, their or its specific responsibilities giving rise to

   his, her, their or its fiduciary status and/or knowingly failing to cure a breach of fiduciary duty by

   another fiduciary and/or failed to take reasonable efforts to remedy the breach.

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           107.    As a direct result of Defendants’ breaches of duties, the Plan has suffered losses

   and damages.

           108.    Pursuant to Sections 409 and 502(a)(2) of ERISA, 29 U.S.C. §§ 1109 and 1132,

   Defendants are liable to restore to the Plan the losses that have been suffered as a direct result of

   Defendants’ breaches of fiduciary duty and are liable for damages and any other available

   equitable or remedial relief, including prospective injunctive and declaratory relief, and

   attorneys’ fees, costs and other recoverable expenses of litigation.

                                             COUNT II
                     (Failure to Monitor Fiduciaries and Co-Fiduciary Breaches)

          109.     Plaintiffs incorporate the allegations in the previous paragraphs of this Complaint

   as if fully set forth herein.

          110.     DISH is responsible for appointing, overseeing, and removing members of the

   Administrative Committee, who, in turn, are responsible for appointing, overseeing, and

   removing members of the Committee.

          111.     In light of its appointment and supervisory authority, DISH had a fiduciary

   responsibility to monitor the performance of the Committee and its members. In addition, DISH,

   and the Administrative Committee had a fiduciary responsibility to monitor the performance of

   the members of the Committee.

          112.     A monitoring fiduciary must ensure that the monitored fiduciaries are performing

   their fiduciary obligations, including those with respect to the investment and holding of Plan

   assets, and must take prompt and effective action to protect the Plan and participants when they

   are not.

          113.     To the extent that fiduciary monitoring responsibilities of DISH or the Committee

   was delegated, each Defendant’s monitoring duty included an obligation to ensure that any

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   delegated tasks were being performed prudently and loyally.

         114.      DISH and the Committee breached their fiduciary monitoring duties by, among

   other things:

             (a) Failing to monitor and evaluate the performance of their appointees or have a

             system in place for doing so, standing idly by as the Plan suffered enormous losses as

             a result of the appointees’ imprudent actions and omissions with respect to the Plan;

             (b) Failing to monitor their appointees’ fiduciary processes, which would have alerted

             a prudent fiduciary to the breaches of fiduciary duties described herein, in clear

             violation of ERISA; and

             (c) Failing to remove appointees whose performances were inadequate in that they

             continued to maintain imprudent, excessively costly, and poorly performing

             investments within the Plan, all to the detriment of the Plan and its participants’

             retirement savings.

         115.      As a consequence of these breaches of the fiduciary duty to monitor, the Plan

   suffered substantial losses. Had DISH and the Committee discharged their fiduciary monitoring

   duties prudently as described above, the losses suffered by the Plan would have been minimized

   or avoided. Therefore, as a direct result of the breaches of fiduciary duties alleged herein, the

   Plan and its participants have lost millions of dollars of retirement savings.

         116.      DISH and the Committee are liable under 29 U.S.C. § 1109(a) to make good to

   the Plan any losses to the Plan resulting from the breaches of fiduciary duties alleged in this

   Count, to restore to the Plan any profits made through use of Plan assets, and are subject to other

   equitable or remedial relief as appropriate.

         117.      Each of the Defendants also knowingly participated in the breaches of the other



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   Defendants, knowing that such acts constituted breaches; enabled the other Defendants to

   commit breaches by failing to lawfully discharge their own fiduciary duties; and knew of the

   breaches by the other Defendants and failed to make any reasonable effort under the

   circumstances to remedy the breaches. Defendants, thus, are liable for the losses caused by the

   breaches of their co-fiduciaries under 29 U.S.C. § 1105(a).

                                              COUNT III
                      (In the Alternative, Liability for Knowing Breach of Trust)

            118.   Plaintiffs incorporate the allegations in the previous paragraphs of this Complaint

   as if fully set forth herein.

            119.   In the alternative, to the extent that any of the Defendants are not deemed a

   fiduciary or co-fiduciary under ERISA, each such Defendant should be enjoined or otherwise

   subject to equitable relief as a non-fiduciary from further participating in a knowing breach of

   trust.

            120.   To the extent any of the Defendants are not deemed to be fiduciaries and/or are

   not deemed to be acting as fiduciaries for any and all applicable purposes, any such Defendants

   are liable for the conduct at issue here, since all Defendants possessed the requisite knowledge

   and information to avoid the fiduciary breaches at issue here and knowingly participated in

   breaches of fiduciary duty by permitting the Plan to offer a menu of imprudent investment

   options and pay excessive recordkeeping and administrative fees, all of which was unjustifiable

   in light of the size and characteristics of the Plan.

                                         PRAYER FOR RELIEF

            WHEREFORE, Plaintiffs, on behalf of themselves, the Class and the Plan, demand

   judgment against Defendants for the following relief:

            (a)    Declaratory and injunctive relief pursuant to Section 502 of ERISA, 29 U.S.C. §

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          1132, as detailed above;

          (b)     Equitable, legal or remedial relief to return all losses to the Plan and/or for

          restitution and/or damages as set forth above, plus all other equitable or remedial relief as

          the Court may deem appropriate pursuant to Sections 409 and 502 of ERISA, 29 U.S.C.

          §§ 1109 and 1132;

          (c)     Pre-judgment and post-judgment interest at the maximum permissible rates,

          whether at law or in equity;

          (d)     Attorneys’ fees, costs and other recoverable expenses of litigation; and

          (e)     Such further and additional relief to which the Plan may be justly entitled and the

          Court deems appropriate and just under all of the circumstances.

                             NOTICE PURSUANT TO ERISA § 502(h)

          To ensure compliance with the requirements of Section 502(h) of ERISA, 29 U.S.C. §

   1132(h), the undersigned hereby affirms that, on this date, a true and correct copy of this

   Complaint was served upon the Secretary of Labor and the Secretary of the Treasury by certified

   mail, return receipt requested.



   DATED: January 20, 2022                       Respectfully submitted,

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